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                              NOT FOR PUBLICATION                           FILED
                       UNITED STATES COURT OF APPEALS                        APR 30 2019
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
                              FOR THE NINTH CIRCUIT

   FRANCISCA GUILLEN, an individual, on            No. 17-56779
   behalf of herself and all others similarly
   situated,                                       D.C. No.
                                                   2:15-cv-03813-MWF-PJW
                   Plaintiff-Appellant,

    v.                                             MEMORANDUM*

   DOLLAR TREE STORES, INC., a Virginia
   corporation; DOES, 1-100, inclusive,

                   Defendants-Appellees.

                     Appeal from the United States District Court
                         for the Central District of California
                    Michael W. Fitzgerald, District Judge, Presiding

                                Submitted April 8, 2019**
                                  Pasadena, California

   Before: GRABER and BYBEE, Circuit Judges, and ARTERTON,*** District
   Judge.



         *
                This disposition is not appropriate for publication and is not precedent
   except as provided by Ninth Circuit Rule 36-3.
         **
                The panel unanimously concludes this case is suitable for decision
   without oral argument. See Fed. R. App. P. 34(a)(2).
         ***
                 The Honorable Janet Bond Arterton, United States District Judge for
   the District of Connecticut, sitting by designation.
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         Plaintiff-Appellant Francisca Guillen brought this class action against her

   employer, Defendant-Appellee Dollar Tree Stores, Inc., claiming violations of

   California’s statutory requirement that employers provide wage statements to their

   employees. At trial, the jury returned a verdict for Dollar Tree. Guillen challenges

   the district court’s refusal to give her requested jury instruction, refusal to permit

   evidence of other employers’ wage statement practices, and refusal to permit

   amendment of her complaint. We have jurisdiction pursuant to 28 U.S.C. § 1291,

   and we affirm.

         1. We review a district court’s formulation of civil jury instructions for

   abuse of discretion, Dang v. Cross, 422 F.3d 800, 804 (9th Cir. 2005), but we

   review de novo whether an instruction states the law correctly, Clem v. Lomeli, 566

   F.3d 1177, 1180–81 (9th Cir. 2009). Because Guillen’s requested instruction

   lacked legal basis, the district court did not abuse its discretion. Peralta v. Dillard,

   744 F.3d 1076, 1082 (9th Cir. 2014). Section 226(a) of the California Labor Code

   establishes requirements for employers furnishing and retaining copies of wage

   statements, but imposes no requirement governing how employees may access

   retained copies of past wage statements. See Cal. Lab. Code § 226(a). Those

   requirements are contained in separate provisions in section 226(b) and (c),

   violations of which were not claimed in this case. The 2006 Opinion Letter issued

   by California’s Division of Labor Standards Enforcement, on which Guillen relies,



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   similarly makes clear that section 226(a) imposes no such requirement on

   employers. See Cal. Office of the State Labor Comm’r, Div. of Labor Standards

   Enf’t, Dep’t of Indus. Relations, Opinion Letter on Electronic Itemized Wage

   Statements (July 6, 2006) (after discussion of what section 226(a) requires, noting

   that “[a]dditionally . . . the record keeping requirements of Labor Code section 226

   and 1174 must be adhered to and the pay records must be retained by the employer

   for a period of at least three years and be accessible by employees and former

   employees.” (emphasis added)).

         2. Guillen also challenges the district court’s preclusion of evidence

   of the methods used by similar employers to deliver wage statements to their

   employees. “A district court’s evidentiary rulings are . . . reviewed for abuse of

   discretion, and the appellant is additionally required to establish that the error was

   prejudicial.” Tritchler v. County of Lake, 358 F.3d 1150, 1155 (9th Cir. 2004). The

   district court excluded this evidence at trial under Federal Rule of Evidence 403,

   ruling that the “legal standard isn’t that the company has to do the best method,”

   “[i]t just has to have a sufficient method,” and reasoning that the jury might

   wrongly infer from the comparison evidence that the applicable legal standard was

   “best practices.” There is no legal authority requiring Dollar Tree to make its wage

   statements as accessible as similar businesses do, and the concern of the district

   court regarding jury confusion was well-founded. The district court’s exclusion of



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   that evidence thus was not an abuse of discretion.

         3. Finally, Guillen argues that the district court abused its discretion by

   denying her leave to amend the complaint to allow her to be substituted as class

   representative for the claimed violation of California’s Private Attorney General

   Act (“PAGA”). “We review for abuse of discretion the district court’s denial of a

   motion to amend a complaint.” Ventress v. Japan Airlines, 603 F.3d 676, 680 (9th

   Cir. 2010). When the court-ordered deadline to amend has passed, motions for

   leave to amend are analyzed under the good cause standard of Federal Rule of

   Civil Procedure 16. Coleman v. Quaker Oats Co., 232 F.3d 1271, 1294 (9th Cir.

   2000). The court-ordered deadline to add parties or amend pleadings was

   December 14, 2015. Guillen did not initiate her PAGA pre-filing administrative

   notice requirement until October 26, 2016, and did not seek leave to file her Third

   Amended Complaint until February 2017. Guillen contends that she could not seek

   this amendment until she had complied with PAGA’s notice requirement but offers

   no explanation as to why she delayed fulfilling that requirement for almost a year

   after the deadline to add parties or amend pleadings. Given the passage of time and

   absence of any good cause explanation from Guillen for the delay, the district court

   did not abuse its discretion by denying leave to amend.

         AFFIRMED.




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